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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF ELIZABETH
PALO ALTO, et al.,                    SANCHEZ KENNEDY (GHIRP) IN
              Plaintiffs,             SUPPORT OF PLAINTIFFS’ MOTION
                                      FOR A TEMPORARY RESTRAINING
     v.                               ORDER AND PRELIMINARY
                                      INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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             DECLARATION OF ELIZABETH SANCHEZ KENNEDY
        EXECUTIVE DIRECTOR FOR GALVESTON-HOUSTON IMMIGRANT
                   REPRESENTATION PROJECT (GHIRP)


I, Elizabeth Sanchez Kennedy, make the following statements on behalf of the Galveston-Houston
Immigrant Representation Project (GHIRP). I certify under penalty of perjury that the following
statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. My name is Elizabeth Sanchez Kennedy, and I am the Executive Director at the Galveston-
      Houston Immigrant Representation Project. GHIRP is a legal services organization that
      was launched in October 2020 with a mission to build a resilient, diverse community by
      providing comprehensive representation and holistic legal services to immigrants in need.
      GHIRP’s legal services range from outreach and education to complex litigation in the
      Galveston-Houston area. Our legal team provides holistic and comprehensive
      representation to immigrants in the community, including unaccompanied minors, adults,
      and women, children, and families.
   2. Through legal representation, GHIRP ensures that immigrants in the community have equal
      access to due process in our complex immigration system. Our organization provides legal
      services in two locations, Galveston and Houston. The majority of our services are
      conducted out of the Houston office, through two programs: 1) the Community
      Immigration Program; and 2) the Immigrant Children & Youth Program. Our Community
      Immigration Program provides legal services and direct representation to survivors of
      crimes and human trafficking, adults detained in the four Houston-area immigrant
      detention facilities, and immigrants in the community who need representation.
   3. GHIRP’s Immigrant Children & Youth program is dedicated to representing indigent
      unaccompanied immigrant children who are not in detention as well as those held in Office
      of Refugee Resettlement (ORR) custody throughout the Galveston-Houston area. This
      program was directly impacted by the termination of funds dedicated to unaccompanied
      immigrant children. Core to GHIRP’s mission and legal services, is providing
      representation to unaccompanied immigrant children and youth. GHIRP was founded with
      funding for unaccompanied immigrant children and our first year of services focused
      almost exclusively on legal services for detained and released unaccompanied immigrant
      children. The contract termination, which cuts funding dedicated to one of our main legal
      services, perceptibly impairs our core business activities.
   4. In order to carry out our mission, GHIRP has several main work components: (1) providing
      educational and pro se services in the form of legal education “know your rights” (KYR)
      presentations, conducting individual consultations (intakes), and conducting pro se
      services with unrepresented children in ORR custody in the Greater Houston Area; (2)
      representing unaccompanied minors who are not in ORR custody in immigration

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   proceedings; (3) representing children in ORR custody in immigration proceedings; (4)
   referring children for pro bono legal services outside of the Galveston-Houston area; and
   (5) providing social services to unaccompanied children. We further host an Immigrant
   Justice Corps (IJC) fellow to represent unaccompanied children in removal proceedings
   and provide Spanish-language tutoring for staff representing unaccompanied children.
5. GHIRP has been providing legal services to unaccompanied immigrant children in
   Galveston and Houston since 2020, when the organization was founded. Since the
   organization opened, our legal services dedicated to unaccompanied immigrant children
   have expanded each year. In 2020, we provided direct representation to approximately 35
   unaccompanied immigrant children. In 2021, GHIRP initiated services in a newly opened
   ORR facility in Houston (Children's First Residential Care TX Gasmer), providing KYR
   presentations, intakes, direct representation, social services, and referrals for children who
   were released to other jurisdictions. In 2023, GHIRP began providing the same legal
   services to unaccompanied children in a second ORR shelter named LSSS Upbring Krause
   Children's Center. GHIRP’s direct representation services dedicated to children who are
   not in custody have also expanded, from 35 cases in our first year of existence (2020) to
   now serving approximately 300 clients per year (2025). Currently, GHIRP serves a
   combined annual number of nearly 1,500 children per year, including approximately 1,500
   children detained in ORR custody, approximately 300 children receiving direct
   representation services per year, 120-150 children receiving social services per year, and
   approximately 35-50 children receiving pro se assistance per year.
6. Wholly with U.S. Department of Health and Human Services (HHS) funding, GHIRP has
   hired 19 staff members dedicated to providing legal services to unaccompanied immigrant
   children. Specifically, our team comprises seven (7) attorneys, one (1) Department of
   Justice Accredited Representative, nine (9) legal assistants, and two (2) social services
   coordinators. As executive director, I oversee the program, support the managing attorney,
   and provide mentorship to the legal team. All staff on GHIRP’s Immigrant Children &
   Youth team are full time employees, and one of the attorneys is an Immigrant Justice Corps
   fellow. Through this contract, we serve recently arriving children in the ORR facilities, as
   well as released children in the community.
7. GHIRP’s Immigrant Children & Youth team serves detained children who are between the
   ages of six (6) and seventeen (17) years old, and non-detained children of all ages. We
   provide legal services to children within seven to ten (7-10) business days of their arrival
   to the ORR facilities, if not sooner.
8. GHIRP staff provide detained services in the facilities two to four (2-4) times per week, for
   approximately two to four (2-4) hours or more each visit. Staff providing direct
   representation and KYR presentations to children in ORR facilities regularly travel to each
   facility in person to conduct client interviews, prepare clients for hearings, gather evidence,


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   as well as provide legal education, individual consultations, and pro se legal services. Our
   team also provides “friend of court” legal services so that children appearing in court
   without an attorney do not have to appear alone. The courts function more efficiently when
   legal representatives are involved as “friend of court” as they explain technical
   requirements at preliminary hearings and move the cases along while protecting their
   rights. GHIRP’s legal team also advocates for children in ORR custody seeking release or
   transfers, reporting disclosed physical or sexual abuse while in custody, and ensuring that
   their basic needs are met by the facility and staff (such as language access and access to
   education and recreation). If and when a child is released to a location outside of our
   geographic area, we refer children for legal services in the location where they are going.
9. The GHIRP legal team is trained to provide child-friendly, trauma-informed, culturally
   competent services to tender aged children, as well as pre-teen and teenage children. When
   we meet the children for the first time, they can be confused, vulnerable, and they often do
   not understand the complex immigration system that they must navigate. Many children
   do not understand where they are, why they are in a shelter, or that they have rights.
   Through our KYR presentations we teach them about their rights, the immigration system,
   and what they must to do seek relief in the United States. We also explain what their
   obligations and rights are after they leave the ORR shelter.
10. Our staff teaches children about how to identify harmful behavior by caretakers. The goal
    is to provide complex information to children of all ages in a way that they can comprehend
    and retain. The GHIRP legal team tailors presentations and individual consultations to
    meet the needs and capacities of each child. We developed materials and resources specific
    to all age groups so that children remain engaged and empowered by our services. During
    individual consultations, our staff are trained to meet each child at their developmental
    level to ensure that the intake is effective and comprehensive. We have seen firsthand how
    this information and engagement in our services is critical to preventing trafficking and
    abuse after minors leave the facility, as well as safeguarding their legal rights in the
    immigration system.
11. The GHIRP legal team provides representation to detained children appearing in
    immigration court and those who are released to the Galveston-Houston area. We identify
    children who are eligible for legal relief and assist them in preparing their case from the
    initial filing of the application or appearance in court, to the finality of their case. We
    represent children in matters before the Houston immigration courts, the Board of
    Immigration Appeals, federal district courts and petitions for review in circuit courts, as
    well as children seeking affirmative relief before USCIS and the USCIS Houston Asylum
    Office, and family court petitions in state court. Our legal team represents children seeking
    humanitarian relief such as asylum, U-visa and T-visa applications, Special Immigrant
    Juvenile visa petitions, and VAWA petitions. GHIRP conducts pro se workshops for
    children who qualify for legal relief but cannot obtain an attorney to represent them.

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12. Many children that receive our legal services do not speak English, have experienced
    trauma, and do not have the resources to hire an attorney. Some clients are so young they
    cannot read or write in their own language, much less present a legally sufficient case in
    English in an adversarial court system. We have represented non-verbal children, children
    with mental and physical disabilities, and parenting children who have been sexually
    abused from a young age. Given their particular vulnerabilities, many of our young clients
    do not have the resources to hire a private attorney and they cannot present a legally
    sufficient case before the court without an attorney by their side. GHIRP’s free, accessible
    representation is their only chance to meaningfully participate in their case and obtain a
    fair outcome.
13. GHIRP attorneys regularly appear before juvenile docket Immigration Judges for our
    clients that are unaccompanied immigrant children. The attorneys are knowledgeable
    about legal issues specific to immigrant children and understand the preferences of the
    judges including required motions and evidence to be filed before hearings. This familiarity
    with the juvenile judges and issues ensures efficient adjudication of cases, or dismissals of
    removal proceedings where relief is available outside of the court. By frequently appearing
    with children in the courts, GHIRP attorneys are able to effectively prepare our child clients
    for hearings, eliminating the stress and trauma of appearing before an Immigration Judge.
14. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
    issued a national contract stop work order for Legal Services for Unaccompanied Children,
    effective immediately, which extended to all five Contract Line Numbers (CLINs). Without
    further elaboration on duration or reasoning, the stop work order stated that it “shall remain
    in place until you are notified otherwise” and “is being implemented due to causes outside
    of your control and should not be misconstrued as an indication for poor performance.”
    HHS then later rescinded the stop work order without explanation to GHIRP on February
    21, 2025.

15. On March 21, 2025, also without warning, GHIRP learned that HHS (through the U.S.
    Department of the Interior) partially terminated the current contract with Acacia Center for
    Justice (to which our organization is a subcontractor) that funds GHIRP’s legal services for
    unaccompanied children. This termination was effective the same day, March 21, 2025.
    HHS terminated the contract with respect to 3 of the 4 Contract Line Item Numbers
    (CLINs): CLIN 2, Legal representation for unaccompanied children, as well as other non-
    representation services, such as referrals and data tracking; CLIN 3, which funds
    Immigrant Justice Corps fellows who represent unaccompanied children not covered under
    CLIN 2; and CLIN 4, Spanish language tutoring for organizational staff who work with
    children. For the time being, HHS has left in place only CLIN 1, which funds KYR
    presentations and confidential legal consultations for pro se children in ORR facilities. Per
    the partial termination, HHS ordered Acacia and all subcontractors to stop work


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   immediately on CLINs 2, 3, and 4. HHS provided no justification for the partial termination
   other than “the Government’s convenience.”
16. I received notification of the contract termination by email. I notified the Immigrant
    Children & Youth team that the contract was terminated effective immediately, and that
    work on cases under the contract should stop due to a lack of funding. As a team, we
    assessed our cases that are currently in progress, our clients’ reliance on our representation,
    immediate next steps for clients, and work that needed to be prioritized given the time-
    sensitive nature of the cases.
17. Notification of the contract termination has significantly impacted our organization, staff,
    and clients. GHIRP currently represents 292 clients with funding from the current contract
    with Acacia Center for Justice. Our youngest client is two (2) years old. We represent
    clients who have imminent hearings, filing deadlines, and time-sensitive motions before
    the court. Our clients are scheduled to appear in court as soon as April 2, 9, and 10, 2025.
    The April 2, 2025 hearing is for a detained client who needs to file relief and be prepared
    to plead in his second setting in Immigration Court, which has necessitated urgent work to
    prepare an application this week. Another client has an Individual Hearing on April 9, 2025
    that will require substantial attorney preparation time, in addition to working closely with
    the client on his testimony, and another client has a filing deadline for that same day.
18. Some cases require complex legal arguments, such as our client who is contesting the
    judge’s jurisdictional decision related to his asylum claim. The law entitles this client to
    explicit procedural due process protections for unaccompanied children, including filing
    his asylum application with the asylum office first. Our attorney has filed two separate
    motions and appeared at a hearing related to this issue and is scheduled to appear again in
    court to resolve the matter. Our young client will not be able to advocate for his rights
    alone if we are forced to abruptly withdraw from his case.
19. GHIRP’s IJC Fellow represents “Evelyn,” a 12-year-old girl from Mexico who has endured
    significant abuse starting at a very young age. Before entering the United States, she was
    labor trafficked at the young age of 5 years old and endured physical and sexual abuse at
    the hands of her caretakers who were her extended family members. We assisted Evelyn in
    filing her asylum application and are in the process of gathering documentation and
    information to file a T-visa application. These forms of relief will ensure that she can stay
    in the U.S. with her sponsor and heal from her past trafficking and abuse. Evelyn was issued
    a Notice to Appear and will soon be required to appear in the Houston Immigration Court.
    To withdraw from her case at this stage would likely result in her abandoning both forms
    of relief and being forced to return to the very dangers she fled.

20. GHIRP also represents “Rosa,” a 15-year-old girl from Honduras, in her immigration case
    seeking both SIJS and asylum. When we met Rosa, she was incapable of speaking due to


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   her severe trauma. She would sit silently with her attorney, picking at her skin and
   repeating nervous ticks due to her extreme discomfort and anxiety. Through multiple
   meetings and building rapport, Rosa disclosed her history of parental abandonment and
   neglect, as well as surviving sexual abuse in her home country. She continues to display
   extensive distress related to her past trauma. GHIRP filed her asylum application (which
   is currently pending) and her family court case is pending in state court, which forms the
   basis for an application for SIJS. Rosa is not capable of complying with family court
   requirements for service of process, establishing parentage, and meeting the legal standards
   for the requested proposed order without an attorney representing her. Furthermore, she
   will soon be required to appear in the Houston Immigration Court and will need her trusted
   attorney to represent her in those proceedings as well.
21. These clients have an expectation that GHIRP will timely prepare their case, appear in
    court on their behalf, and complete the case in accordance with our attorney-client
    representation agreements. In order to comply with our client obligations, we have had to
    utilize operating expenses that were set aside for other purposes because we are not able to
    halt legal representation on a moment’s notice.
22. GHIRP’s legal team will not withdraw from client cases immediately. Our management
    team is determining how long we can continue representing our clients without funding,
    considering the number of clients we represent, the procedural posture of each case, and
    the staff capacity for casework with a reduced team due to funding. Due to the sudden
    contract termination, we must decide which cases to retain, and which staff will remain at
    the organization (if any). GHIRP attorneys and representatives have an ethical duty to
    represent our current clients and to advocate for their interests. To abruptly withdraw from
    our clients’ cases will be detrimental to their legal case, and a direct impairment to our
    existing core activities. Clients will age out of legal relief, may be forced to abandon relief
    due to missed filing deadlines, and/or they will not be able to pursue their cases in court
    effectively alone without representation. Our attorneys are the attorney of record in
    immigration court and state court, and judges may not allow for our withdrawal at such a
    late stage of the case. If they do allow for withdrawal, our young clients will not have the
    time and resources to obtain new counsel within the courts’ deadlines and/or scheduled
    hearings.
23. The financial impact of the contract termination profoundly affects GHIRP, as the entire
    contract for legal services for unaccompanied children represents approximately 45% of
    our organizational budget and staff. Our organization served 2,625 immigrants in the
    community last year, of which 1,469 (or 57%) were unaccompanied children receiving
    services through this contract. GHIRP is not able to maintain the same level of legal
    services for unaccompanied minors without HHS funding, and we will be required to lay
    off most of our Immigrant Children and Youth staff in approximately four weeks. We will
    rely on unrestricted funds and savings to pay staff during this time, however, drawing down

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       on these funds will destabilize the organization as a whole. This will divert unrestricted
       funds away from other services, as these resources typically cover gaps in funding between
       contract cycles on other grants, underfunded programs, or new initiatives that are
       responsive to emerging needs of the community.
   24. GHIRP’s staff members serving immigrant children and youth are exceptionally passionate
       about providing legal services to children and are currently distraught by the recent contract
       termination. All have had formal and/or on-the-job training related to educating and
       representing children and youth and have developed unique skills to provide child-friendly
       legal services. Over the years, our team has built rapport with our clients, assisted them in
       navigating personal and legal issues, and dedicated a significant amount of time and
       resources to zealously advocating for their clients. Through our services, we hope to
       achieve our goals of obtaining safety and stability for our clients so that they can thrive.
       An interruption in services risks re-traumatizing them and causing them to lose the progress
       they have made so far in their trajectory toward opportunity. The abrupt contract
       termination has impacted staff morale and caused incredible amounts of stress. Having to
       withdraw representation may be a violation of our ethical duties to our clients and will
       likely lead to their deportation, placing our clients in harm’s way. Our children view our
       team as a reliable support, which many clients lack in other aspects of their lives. These
       consequences deeply impact our staff, who are dedicated, compassionate professionals.
   25. Such results are antithetical to our values and impede our ability to carry out GHIRP’s
       mission.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 25th of March 2025, in Houston, Texas.


_/s/ Elizabeth Sanchez Kennedy______
Elizabeth Sanchez Kennedy
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